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     In The United States Court of Federal Claims
                                             No. 06-587T

                                  (Filed: February 24, 2012)
                                          __________

  UNIONBANCAL CORPORATION
  & SUBSIDIARIES,

                                Plaintiff,

                         v.

  THE UNITED STATES,

                               Defendant.


                                              __________

                                               ORDER
                                              __________

       On February 22, 2012, a pretrial conference was held in this case. Participating in the
conference were David F. Abbott, on behalf of plaintiff, and Joseph A. Sergi, on behalf of
defendant. Pursuant to the discussion, the court orders the following:

       1.      Trial in this case will commence at 10:00 a.m. (EST) on Monday, March
               12, 2012, at the United States Court of Federal Claims, National Courts
               Building, Courtroom #5, 717 Madison Place, N.W., Washington, D.C.
               2005. Subsequent days of trial will begin at 9:30a.m. (EST), unless
               otherwise ordered.

       2.      At the pretrial conference, the court resolved several motions in limine:

               a.     The court granted defendant’s motion in limine, filed January 13,
                      2012, thereby overruling plaintiff’s categorical objections to
                      defendant’s trial exhibits related to the Misoxer Transaction.

               b.     The court granted plaintiff’s motion in limine of February 1, 2012,
                      thereby overruling defendant’s categorical objections to plaintiff’s
                      trial exhibits related to the post-bankruptcy restructuring of the
                      Pond Transaction.
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     c.     The court denied plaintiff’s motion in limine of February 9, 2012,
            to exclude testimony of eight proposed defense witnesses.

3.   In addition, the court indicated that it will grant plaintiff’s motion to
     voluntarily dismiss its tax refund claims arising from the Misoxer
     Transaction when the parties provide proof that certain preconditions
     mandated by the court have been satisfied.

4.   On or before March 5, 2012, the parties shall file a joint stipulation of
     undisputed facts. The court expects that stipulation to be extensive.
     Failure to file a sufficiently comprehensive stipulation will result in an
     order requiring the parties to re-file a revised stipulation that comports
     with the court’s expectations.

5.   Pursuant to 28 U.S.C. § 2503(b), all proceedings will be in accordance to
     the Rules of the Court of Federal Claims and the Federal Rules of
     Evidence. Parties should expect to object to and defend proffered
     evidence with reference to specific rules.

6.   Regarding exhibits:

     a.     At the outset of trial, it is the court’s intent to admit en masse any
            exhibits to which there are no objections. At that time, the court
            will rule on any objections to exhibits that do not require live
            testimony. Objections to exhibits that require live testimony will
            be considered at the appropriate time.

     b.     On or before March 9, 2012, the parties shall supply to chambers
            four CD-ROM sets containing pre-marked copies of electronic
            exhibits. All documents on the CD-ROM sets shall be bates-
            stamped or otherwise electronically marked to allow for ready
            identification of individual pages. The parties shall ensure that,
            prior to trial, the court has the software needed to view the exhibits
            on the CD-ROMs and shall, if necessary, provide a licensed copy
            of such software to the court for its use during the pendency of this
            case.

     c.     In addition, on the first day of trial, the parties shall supply two
            pre-marked copies of the hard copy exhibits they intend to offer in
            this case, the hard copies shall be in binders, with tabbed dividers
            between each individual exhibit-the spines of the binders shall
            indicate the exhibits contained therein in large-faced type.




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      d.     The parties shall avoid submitting to the court duplicate copies of
             exhibits and shall endeavor to assure that their exhibits are
             consecutively numbered, with no numbers omitted.

7.    Regarding witnesses:

      a.     The parties shall coordinate regarding the order of witness
             presentations, particularly in the calling of common witnesses.

      b.     Each party shall notify the other as soon as possible if a
             determination is made not to call someone on its witness list.

      c.     Based on the anticipated schedule, the parties are hereby instructed
             to have adequate witnesses available and prepared to testify on
             each day of trial, so as to ensure that each day of the trial
             proceedings is fully utilized.

      d.     Counsel are reminded of the court’s expectation that the direct
             examination of witnesses shall be crisp and shall not unduly elicit
             information already in the record (e.g., stipulated matters).

8.    The parties shall each have twenty minutes for opening statements.
      Plaintiff will go first, then defendant.

9.    The court will require post-trial briefing in this case. The schedule for
      such briefing will be established at the conclusion of trial.

10.   Counsel are reminded of the court’s expectation that they will attempt to
      resolve as many matters as possible through cooperation.

IT IS SO ORDERED.




                                            s/ Francis M. Allegra
                                            Francis M. Allegra
                                            Judge




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